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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:11CR72
                                            )
             Plaintiff,                     )
                                            )               MEMORANDUM
             vs.                            )                AND ORDER
                                            )
BERNARDO RODRIGUEZ-FAVALA,                  )
                                            )
             Defendant.                     )

      This matter is before the Court on the Findings and Recommendation (Filing No. 59)

issued by Magistrate Judge F.A. Gossett recommending that the motion to suppress (Filing

No. 45) filed by the Defendant, Bernardo Rodriguez-Favala, be denied. Rodriguez-Favala

filed a statement of objections to the Findings and Recommendation and a supporting brief

(Filing Nos. 73, 74) as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 59.2(a). The

government responded (Filing No. 76).

      Rodriguez-Favala is charged in a one-count Indictment with conspiracy to distribute

and possess with intent to distribute methamphetamine. He seeks to suppress his post-

arrest statement made on March 7, 2011.

      Following an evidentiary hearing, Judge Gossett issued oral findings of fact and

conclusions of law.   He found that Agents Reisz, Stewart and Anton were credible

witnesses, although the testimony of Agents Stewart and Anton was of limited value, and

he concluded that the government proved by a preponderance of the evidence that the

Defendant freely, voluntarily, and intelligently waived his Miranda rights. Judge Gossett

therefore recommended that the motion to suppress be denied.
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                                STANDARD OF REVIEW

       Under 28 U.S.C. § 636(b)(1)(C), the Court must make a de novo determination of

those portions of the findings and recommendation to which the Defendant has objected.

The Court may accept, reject, or modify, in whole or in part, the Magistrate Judge's findings

or recommendations. The Court may also receive further evidence or remand the matter

to the Magistrate Judge with instructions.

                                STATEMENT OF FACTS

       Judge Gossett provided an account of the events surrounding the Defendant’s

interview. The Court has considered the transcript of the hearing conducted by Judge

Gossett and carefully viewed the evidence. There are no objections to Judge Gossett's

factual findings, and based on a de novo review of the record the Court adopts those

findings.

       Briefly, after Defendant’s arrest he was interviewed in Spanish by Homeland

Security Agent Reisz, who characterized his Spanish language ability as “proficient.”

During the interview Agent Stewart, who speaks no Spanish but understands a little

Spanish, was present. Agent Reisz did not read the Miranda form to Defendant. Rather,

he asked the Defendant whether he could read Spanish, and Defendant responded “yes.”

Defendant appeared to read the form. His eyes moved, and he followed instructions given

him to initial each “right.” Defendant was told he could ask questions about the form, and

he asked none. Defendant signed the form. Agent Stewart left when Agent Anton, who

is fluent in Spanish, arrived. Agent Anton did not review the administration of Miranda

rights because he saw a completed waiver form. Agent Anton reviewed the substantive

portion of the interview with the Defendant and Agent Reisz.

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                                         ANALYSIS

       Defendant objects to Judge Gossett’s credibility findings with respect to all three

agents and his conclusion that the government met its burden in proving a voluntary,

knowing, and intelligent Miranda waiver.

Credibility

       A “determination of witness credibility is ‘virtually unassailable on appeal.’” United

States v. Freeman, 625 F.3d 1049, 1052 (8th Cir. 2001) (quoting United States v.

Guel–Contreras, 468 F.3d 517, 521 (8th Cir.2006)).

       Defendant argues that discrepancies between the testimony of Agent Reisz and

Agent Stewart cast doubt on Agent Reisz’s credibility. The Court is not persuaded that the

agents’ testimony presents any discrepancies. The example cited by Defendant shows that

both agents testified that Agent Stewart understands very little Spanish. (Filing No. 74, at

7.) Certainly, Judge Gossett had the better opportunity to judge the agents’ credibility as

he saw and heard them testify. A review of the record supports his reasoning: Agent Anton

was not in the room during the administration of Miranda rights; and although Agent

Stewart was present during the critical time, his Spanish is very limited.

Waiver

       A suspect both in custody and under interrogation is afforded the protection of the

rights set forth in Miranda v. Arizona, 384 U.S. 436 (1966). A subject is deemed in custody,

requiring compliance with Miranda when the suspect is formally arrested and not free to

leave a location or when “a reasonable person in the suspect’s position would have




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considered his freedom restrained in a degree that is usually associated with a formal

arrest.” United States v. Caldwell, 954 F.2d 496, 499 (8th Cir. 1992).

       Custodial interrogations, by nature, generate “compelling pressures which work to

undermine the individual’s will to resist and to compel him to speak where he would not

otherwise do so freely.” Miranda, 384 U.S. at 467. To combat this natural pressure,

Miranda demands that persons in custodial interrogation be advised of their right to remain

silent and to have counsel present. Id. at 468-70. Although a defendant may waive these

rights, the government is held to a high level of proof that a waiver has been effectuated.

Specifically, the government must prove that, taking into account the background,

experience, and conduct of the defendant, the waiver was “the product of a free and

deliberate choice rather than intimidation, coercion, or deception” and was made with “a

full awareness of both the nature of the right being abandoned and the consequences

surrounding the interrogation.” Moran v. Burbine, 475 U.S. 412, 421 (1986). The test has

been explained by the Eighth Circuit as whether a defendant’s “will was overborne and his

capacity for self-determination critically impaired.” United States v. Kilgore, 58 F.3d 350,

353 (8th Cir. 1995). In deciding voluntariness, courts are required to view the totality of the

circumstances and consider both the conduct of law enforcement officers and the suspect’s

capacity to resist pressure. Id.

       18 U.S.C. § 3501(a) provides that a confession is admissible in evidence only if it

was voluntarily given. Section 3501(b) provides:

              The trial judge in determining the issue of voluntariness shall take into
       consideration all the circumstances surrounding the giving of the confession,
       including: (1) the time elapsing between arrest and arraignment of the
       defendant making the confession, if it was made after arrest and before
       arraignment; (2) whether such defendant knew the nature of the offense with

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       which he was charged or of which he was suspected at the time of making
       the confession; (3) whether or not such defendant was advised or knew that
       he was not required to make any statement and that such statement can be
       used against him; (4) whether or not such defendant had been advised prior
       to questioning of his right to assistance of counsel; and (5) whether or not
       such defendant was without the assistance of counsel when questioned and
       when giving such confession.

18 U.S.C. § 3501(b).

       In determining whether a confession is voluntary, the Court should consider all

circumstances, including the factors specifically listed in 18 U.S.C. § 3501(b). United

States v. Vanover, 630 F.3d 1108, 1115 (8th Cir.2011) In viewing the totality of the

circumstances, the Court must consider both the conduct of law enforcement officers and

the suspect’s capacity to resist pressure. Rhode Island v. Innis, 446 U.S. 291, 301 (1980);

Kilgore, 58 F.3d at 353.      The totality of the circumstances is determined by the

“characteristics of the accused and the details of the interrogation.” Schneckloth v.

Bustamonte, 412 U.S. 218, 226 (1973).

       Certainly, this case would have been simplified if Agent Reisz had read the Miranda

form to the Defendant. Apparently, he had the ability to do so. It also would have been

simplified if Agent Anton had read the form to the Defendant, which he could have done

without difficulty. The Court is troubled by those facts as well as Agent Reisz’s instruction

that Defendant sign the portion of the form stating that the rights had been read to him

when this was not the case. However, the evidence shows that the Defendant said he

could read Spanish; he appeared to read each warning as his eyes moved and then he

stopped and initialed each advisory of a right before continuing to the next advisory. He

followed directions; he was told he could ask questions; and he asked none.



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       Most important, despite the difficulties presented in this case, no evidence exists in

the record showing that the Defendant did not execute a knowing, voluntary, and intelligent

waiver. The Defendant makes this argument, but he chose not testify or present any

evidence at the hearing.     Therefore, the Court must conclude based on the record

presented that the government has met its burden and the Defendant knowingly,

voluntarily, and intelligently waived his Miranda rights.

       IT IS ORDERED:

       1.     The Magistrate Judge’s Findings and Recommendation (Filing No. 59) is

              adopted in its entirety;

       2.     The Defendant’s objections to the Findings and Recommendation (Filing No.

              73) are overruled; and

       3.     The Defendant’s motion to suppress (Filing No. 45) is denied.

       DATED this 14th day of July, 2011.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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